Case 1:18-cv-00416-CG-N Document 1 Filed 09/24/18 Page 1 of 7   PageID #: 1
Case 1:18-cv-00416-CG-N Document 1 Filed 09/24/18 Page 2 of 7   PageID #: 2
Case 1:18-cv-00416-CG-N Document 1 Filed 09/24/18 Page 3 of 7   PageID #: 3
Case 1:18-cv-00416-CG-N Document 1 Filed 09/24/18 Page 4 of 7   PageID #: 4
Case 1:18-cv-00416-CG-N Document 1 Filed 09/24/18 Page 5 of 7   PageID #: 5
Case 1:18-cv-00416-CG-N Document 1 Filed 09/24/18 Page 6 of 7   PageID #: 6
Case 1:18-cv-00416-CG-N Document 1 Filed 09/24/18 Page 7 of 7   PageID #: 7
